




NO. 07-01-0110-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



DECEMBER 30, 2002

______________________________



DAVID MEDINA,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 43137-E; HON. ABE LOPEZ, PRESIDING

_______________________________



Before QUINN and REAVIS, JJ., and BOYD, SJ.
(footnote: -6)
	David Medina (appellant) appeals from a final judgment under which he was convicted of delivery of a controlled substance. &nbsp;Through a single issue, he contends that he was denied due process and a fair trial since the “State failed to allow [him] to take a shower or sleep on anything other than concrete prior to the [punishment] hearing” and the trial court “would not allow him to explain his appearance to the jury.” &nbsp;This issue is identical to that raised in David Medina v. State, No. 07-01-0107-CR, pending in this court.

Consequently, we adopt the reasoning and discussion in our opinion issued this day in cause number 07-01-0107-CR and conclude that it sufficiently disposes of the single issue appellant raises at bar. &nbsp;In doing so, we also overrule appellant’s contention and affirm the judgment entered below. 

Brian Quinn

 &nbsp;&nbsp;Justice





Do not publish.

FOOTNOTES
-6:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. &nbsp;Tex. Gov’t Code Ann. §75.002(a)(1) (Vernon Supp. 2002). 




